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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA

The U.D. Registry, Inc., a California CIV’02 1713 PHX DGC
corporation,

Plaintiff,

ORDER

VS.
City of Mesa, Arizona, an Arizona
municipality; Dennis Michael Lee and Jane (Honorable David G. Campbell)

Doe Lee, and the marital community
composed thereof, doing business as “A-1
Dennis Lee Investigations”; Timothy L.
Zehring and Jane Doe Zehring, and the
marital community composed thereof;
Debbie Bigelow and John Doe Bigelow, and
the marital community composed thereof;
Lora Trimarco-Post and John Doe Trimarco-
Post, and the marital community composed
thereof; John Does 1-10 and Jane Does 1-10,
and the marital communities (if any)
composed thereof; ABC Corporations 1-10;
and GHI Fictitious Entities 1-10,

Defendants.

 

 

 

 

Pursuant to the foregoing Stipulation to Dismiss with Prejudice, and good cause

appearing thereto,

 

 
 

 

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IT IS HEREBY ORDERED that this matter be dismissed with prejudice, each

party to bear its own costs and fees.

Dated: / of. 2 af OF

 

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David G. Campbell
United States District Court Judge

 
